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                                                   November 3, 2022


                                                                                      VIA ECF
Honorable Brian M. Cogan
United States District Court
Eastern District of New York
225 Cadman Plaza East
Brooklyn, NY 11201

              Re:     United States v. Colinford Mattis and Urooj Rahman,
                      Criminal Docket No. 20-203 (BMC)

Dear Judge Cogan:
              This letter concerns the sentencing dates for both defendants in the above-
captioned matter. On November 2, 2022, the Court adjourned Ms. Rahman’s sentencing to
December 16, 2022. At present, Mr. Mattis is scheduled to be sentenced on November 16, 2022.
              If the Court intends to proceed with the first sentencing on November 16, 2022,
Ms. Rahman respectfully requests that she be allowed to proceed that day and that Mr. Mattis’s
sentenced be adjourned to December 16, 2022 – in other words, that the sentencing dates for the
two defendants be switched. Ms. Rahman is prepared to proceed to sentencing, and both Ms.
Rahman’s sentencing submission and the government’s response already have been filed with
the Court.
               We have conferred with counsel for both Mr. Mattis and the government, and
they do not object to this request.
              If, however, the Court also intends also to adjourn Mr. Mattis’s November 16,
2022 sentencing date, then we would withdraw this request, and Ms. Rahman would plan to
proceed with her sentencing as scheduled on December 16, 2022.
              Thank you in advance for your consideration of this request.
                                               Respectfully submitted,

                                               BRACEWELL LLP
                                               /s/ Rita Maxwell
                                               Rita Maxwell

                                               FAEGRE DRINKER BIDDLE & REATH LLP
                                               /s/ Peter Baldwin
                                               Peter Baldwin
